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Stephanie A. Miner, l\/layor
June 4,2030

`Hon. Gcorge H. Lowe
Magistrate ludge

`Northern District of New York
United States Cotn‘thouse

P.O. Box 7336

100 Sou.th Clinton Street
Syracuse, New Yorl< 13261

Re: l\/lothersell v. City of Syracuse, et al.
Civil Action No.: 9:08~cv- 615

`Dear Judge Lowe:

'l`he parties have conferred regarding Defendants’ request to substitute M`ayor Miner and
Police Chief P`owler in place of former l\/layor Driscoll and former Police Chief i\/[iguel as
Dei`endants in this action. The parties have agreed that because Mayor Driscoll and Chief
l\/liguel have been sued in their personal capacity they must remain parties to this lawsuit
Fm'ther, counsel has agreed that it is duplicative to substitute Mayor Miner and Chief Fowler into
this action pursuant to FR_CP 25(d) as any claim against them in their official capacity is included
Wi_thin the claims against the City of Syracuse. T.heret`ore, we have agreed that former Mayor
`Driscoll and former `Police Chief Migucl remain Defendztnts in this action sued in their personal
capacity only.

Also, in Civil Rights actions against police officers, it has been my experience and past
practice with Your l~lonor that you review the named Del"endant police officers’ personnel and
discipline files in camera and then advise Defendants’ counsel of the documents you deem
discoverable I have spoken With Plaintit`t’s counsel, Mr. Benno, regarding this practice and he
is agreeable that, in order to move discovery forward, Your Honor be provided with the tiles for
your review. Mr. Benno has also agreed to sign a confidentiality stipulation should the Court
order disclosure of any documents

Kindly advise counsel ii` this proposal is agreeable to you, and l will have the files
delivered to your chambers

300 CYI`Y I'IAI,.I.. a SYRACUSE, N.Y. 13202 ~ (3]5) 448¢3400 * l“"AX: (315) 448~838] ' \VEB PAGE: \¢VWW.SYRACUSI`§"Z.NY.US

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Rospect'fully submitted,

    

 

 

